Bae: Melva ‘Kay: Ponce

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legal Voting

Office of the Attorney General of Texas

Election Fraud Violations
Prosecutions Resolved

2004 General Election B05 2101 0-CR 8 | count illegal voting « 1 O7/26/05 BC 64.012
Voter: impersonation

Bled guiiy tact count attempted illegal voting. 22
vears-deaterred: adjudication; $1500 fine w/e S0o
brobatedt

Johnny Wayne
Akers

Hardeman

oo =
Nueces:
Garza

Nueces Elida Garza Flores

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud -
Possession of an official ballot

2D anocne
Vote Harvesting / Mall Balak
Fraud/Agcistanice Fraud =
Method of returning marked
balldt unlawtl assistance,
Bssisting: voter:
Vote Harvesting/Mail Ballot

Fraud/Assistance Fraud -
Method of returning marked
ballot, unlawful assistance,

assisting voter

fraud/Assistance fraud ©
Method of returhing:markedt
balldt unlawtl assistance,

2004 Primary Election

ZOOS: Schaal District:

Election

2005 School District
Election

2005: School District

Election

013449

TS CHARS OG <e:

05-CR-9805-4

6 counts possession of
official ballot or carrier
envelope of another

SScGUnts possessing ar
cificial Ballot or carrier
envelope Of another

1 count possessing an
official ballot or carrier
envelope of another

Z:0OUNtS possessing at
cificial Ballot or carrier
envelope Of another

11/04/05

03/22/06

03/22/06

03/22/06

Ec 86.006

BC B6.006.

EC 86.006

BC B6.006.

Pled guilty to possession of official ballot or carrier
envelape of another. 2 years probation, $2000
fine

a Veer pretal diversion Eo MiGnths CommUniny
SUberVision

1 year pre-trial diversion, 12 months community
supervision

Pied nole contendsre'te 2 counts of possessing an
Oficial ballak Grcarrier envelbbe otenctier: £
year deterred adjudication: $500 fine, TQ: manthe

Teabel Lisa Rigg
Nueces
Gonzalez

Josefina Marinas
Suarez

SBE VIRIODGE

Bowie

Nueces

Willie Howard Ray

Jamilaty: Jonson:

Melinda Hunter

Naeces: Marla: Dora:Plares

Reeves

Anita Baeza

Bssisting voter
Vote Harvesting/Mail Ballot

Fraud/Assistance Fraud -
Method of returning marked
ballot, unlawful assistance,

assisting voter

Vote Harvesting /Mail:-Ballot:
Fraud = Method GE retirning
marked: baltat

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud -
Uniawfully obstructing watcher,
unlawfully witnessing
application for more than one
application, unlawful
assistance, security of ballots,
ballot boxes and envelopes

Note Harvesting/Mall Ballot
Fraud/ Assistance Fraud:
Unlawfullyabstructitig watcher,
Unlawtully withessing
Soplicaton far more than one
application; dntawftul
assistance, Security of ballots:
Ballot boxes and snvelapes:

Unlawfully obstructing watcher,
unlawfully witnessing
application for more than one
application, unlawful
assistance, security of ballots,
baliat boxes and envelopes

Vote Harvesthg/ Mail Ballot
Fravd/Agsistance Treud/tlegal
Voutg Unlewfol assistance:
Hinleweiny: Inidencing Vater
Vote Harvesting/Mail Ballot
Fraud - Method of returning
marked ballot

CONFIDENTIAL

2005 School District
Election

ZOD: Pritpanychlaction

2004 Primary Election

2004: Prinnary: Blgction

2004 Primary Election

2006: Primanchlectiog

2004 Primary Election

DS CRAGSOS 3:

05-CR-9807-1

25,485

06M1309-CCL

GSMOSO2ICCL:

O6MO0301-CCL
GOSCR 2 EGG:

25,186

1 count illegally possessing
an official carrier envelope
of another

4 Counte pocseccion Of an
‘official ballot oc official
cat ristehvelone:of another

7 counts possessing an
official ballot or carrier
envelope of another

Z:0OUNtS possessing at
‘official Ballotlor cartier
envelope Of another

7 counts possessing an
official ballot or carrier
envelope of another

Z cGants Hegal voting=(4)
maring-a ballot without
MOLSES CONSE

5 counts illegally
possessing ballots for
another person

05/04/06

DG/E7/06.

07/17/06

EC 86.006

EC 86.006

EC 86.006

OF E7106: FC S6 006

08/04/06 Bea O12

08/28/06

EC 86.006

COMIMUDINe Supervision

Pled guilty to 1 count of illegally passesing an
official carrier envelope of another. 1 year
deferred adjudication, $500 fine, 12 months
community supervision

Found QUILy By JUDY OF A Counts GF pascascion: at
an oficial ballat-ar officiat:carner sivelope of
another: 10 dave jail (probated fore months

Pled guilty to possession of an official ballot or
official carrier envelope of another. 8 months
deferred adjudication, $200 fine. Original
indictment dismissed.

Scmanths deterred: acludication, $200 hie

6 months pre-trial diversion

Plead Gulty too counts Ulegal voting. 22 years
deferted sdi-probation, S750 tine

6 months pre-trial diversion

Information as of 7/15/2022

Page 1

STATE112177
Debra Briseno

Raymond
Villarreal

Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 2 of 17

Tegal vating, fraudulent
tegistr ations) and vote
Hervesta/mall ballet fraud

Illegal Voting, Tampering

2006: Primanchlectiog

2006 Primary Election|2007-2-4809, 2007-2-4810

Office of the Attorney General of Texas

i

oe

2006.8 6465) 200628:

GAGE. 2006-80546 7;

ZO0G-B*G468) 2 00G+8-G469:

Election Fraud Violations
Prosecutions Resolved

3 caGnts Hegal voting=(1)
IMBHGIDIE VOtRE HOR Citizen:
1 CQUHE inlaWeul
assistance, Ti ceounts
possessing an official ballot
‘Or Cartiet erivelope of
another: 5 counts
teMipeHitig With &
goverorientabraccrd 6
SOUnES [alge stateriention
a FeGistration ap plicadan

4 counts illegal voting, 3
count tampering with
governmental record

Starry Brag ks: Nastia: oped: Tegal weeing 2006 ‘GorneralFlection OF 0709767 ER: ESOuAe ieee VOERG
2006 Special Election 89,288 Possession of forged
instrument

Stary Broaks: MMegal-voting ZORG Ganeralblaction OF 05.00 74 S:CR

SEIS 4

Oscar Luis Rios

Starr/ Brooks

Duval/ Brooks

Duval! Brooke

Duval/ Brooks

Duval Brooks

Goliad®

Michael Cc.
Shura

Lydia Molina

Mata Sonera

Elva Gutierrez
Lazo

Mana Adelina
rae

Jami Parkinson
Billings

Guadalupe Rigs

Starry Brooks

Starr/ Brooks

ce

Aransas/
Travis‘

Hidaloo® Paulito Nite

Leland Mac
Coffman

Oralia Frausto

Gallaher, Todd

Hill

Forgery, tampering with a
government document

Vote Harvesting/Mail Ballot
Fraud

Cnlawrally: accepting campaign
donations: bribery

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud,
unlawful buying and selling of

ballot materia
Vote Harvesting /Mait-Ballot:
Pradd/ Assistance: Fraud:
Gnlawfal buying and selling of
hallobiiaterials:
Unlawful assistance, unlawful
buying and selling of ballot
materials

Vote Harvecting/Mail &
Fraud) Agsistance: Fraud:
uinleweal buiing atid’ selling oF

results prior to the closing of
polls

Vote Harvesting Mail Ballot
Fraud

Tegal Voting/Vote
Harvesting/Mail Ballot
Fraud/Assistance Fraud
Teal Voting Vote
Hanvesting/ Mad Ballot
Pre UCAS | pe Fraud
Misrepresentation of identity -
intent to manipulate election or
int ndidate

Tigoal Voting = Felon

Divulged election results prior
to the closing of palls on
election day; made false report
to peace officer about divulging
result:

2006 Primary Election

2008: Prinvary Election

2006 Primary Election

2006: Primanchlectiog

2006 Primary Election

2006: Primary: Blgction

2068 Municipal
Election

SOA328B) SG 73346:
B:

08-01-09864, 11479

O8“01 09863;

08-01-09865, 11482

OS OL -O98 66) 1T4et

08-8-8967 CR

2006: Municipat
Election

2006 Primary Election

2006 Prinvary Election

2008 Primary Election

#2008: Municipal
flection

2007 School District
and Municipal
Election

0808-09945 CR

07-05-09738 CR

OP SOS*0974 2 CR

€08999934

CREZ62 2-097:

M0593-09

iecountilegalvoting: G2)
Votna-more -thancorce

12 counts possessing a
ballot without the voter's
consent

1 COUREUN a Wwhity
accepting Contribution, 1
cunt Organized criminal

activity, d: count unlawfully:
Secepting Cont Botion:

6 counts possession of
official ballot or carrier
envelope of another

Songunts possession of
official ballotar carrer
aovelans oF another

3 counts possession of
official ballot or carrier
envelope of another

2 COURTE Dossaesicn OF
‘official Ballotlor cartier
envelope of another

1 count unlawfully
revealing information

before polls close

Ei counts: possessing:
ballot: WwithGut: the: voter's
COMSBHE
15 counts of possessing a
ballot without the voter's

consent
S COUNTS Of boss essing: Ss:

ballse withauethe votsr's

Misrepresentation of
identity

T count SF ilisoel voting:
(1) Ineligible Vater felon

3 counts false report to
peace officer

1

t

Ot/2aloe:

DS/OL/O8

06/12/08

10/02/08

10/02/08

10/02/08

LOAG 2708:

11/12/08

EC GAOL 2 RC
B7ELO:

EC 86.006

EE OG O06.

EC 86.006

FC S6 006

EC 61.007

DUP) Verdict Of GUIRY on 2 Counts Misgal voting, 1
count tampering with @ government record, 5
years 100)

Pled guilty to tampering with government record.

2 years TDCJ suspended for 5 years community

supervision, $1,500 fine, 90 days jail, $2,090
titution

resi
1 year pre-trial diversion, $300 donation

without the voters's consent. 2 years deferred
adjudication, $300 fine, 2 years community
supervision

June Nerdict ef guilty te'endaging ih draatized
CHIME BCHVRY S20 Years CONT Nemesnt
Suspended for S veers, community superviign
With TOO dave jell ae a condition, 45 000 fre

Pled guilty to possession of official ballot or carrier
envelope of another. 1 year deferred
adjudication, $300 fine, 12 months community
Je on.
Pied: gut to: possession Of Oficial: ballot or carrier:
envelope of encther ot! veer deferred
adjudication: $300 fine, Fe months community
SURESCVIStOn
Pled guilty to possession of official ballot or carrier
envelope of another. 1 year deferred
adjudication, $300 fine, 12 months community

envelope of another ot year deferred
adjudication, $300 fine 12: months community

Sas:
Pled nolo contendere to 1 count unlawfully
revealing information before polls close. 2 years
deferred adjudication, $3,000 fine, 2 years

OS fT 6109:

03/26/09

03/26/09

05/21/09

GO7 29/09:

10/14/09

FC S6 006

EC 86.006

BC B6.006.

E.c. 255.005

EC 64012

PC 37.08

community supervision

Bled Quiityito 11 celints possesing a ballot without
the Voter's Consent 2 years probated fora years
probation: €S00 fine, 6G dave house arrest

1 year pre-trial diversion

ieveat pre-trial diversian

Pre-trial diversion for 1 year, 60 hours of
cammunity service, completed early.

Plead guihy: fork years TOC probated: tors veers
Of COMMUNI SUBERVISIOHE T day inal, ¢500:fing

Pled guilty to 3 counts of false report to a peace
officer. 2 years probation, $2600 fine, 90 days in
jail, probated

CONFIDENTIAL

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Page 2

STATE112178
Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 3 of 17

Habis:
Starr/Brooks
Stare Brogke:

Starr/Brooks

Panola

Maria Mendoza
Garcia

Dimmit/
LaSalle

Vote Harvesting/Mail Ballot

Fraud 2006 Primary Election

nity:
LaSalle

Vote Harvesting Mail: Ballot

ees ZORG Pritpanycblaction

Estele: Crug Saenz

Zaida Cantu
Bueno

Cynthia Lopez

Jim Wells/ Live
Oak

Vote Harvesting/Mail Ballot

Fraud 2008 Primary Election

Vote Harvesting / Mail: Ballot:

eraud 2008: Pinar Blaction

Jim Wells/ Live
Oak

Vote Harvesting/Mail Ballot

Fraud 2008 Primary Election

Vote Harvesting/Mail Ballot
Fraud - Unlawful possession of {2010 Primary Election
56 mail-in ballots by candidate

Vote Harvesting Mall: Ballot:

Fraud: Providing Praudulent:

registration cards: to: vote:

Hidalgot Robern Weaving: ategal voting = felon) bribery) 42008 Schaal District L eaunt legal Voting: (1)
eg i O09 COMIDL LE:CR Pen x
Brogks Garcia ahd othiGal: misconduct Blection ineligible vater-telon

mare

‘Sterr/ Brooks: Ma RYySEGR Garze
Hidalgo/
Brooks

DuvelLive Oak:

2006: Primary: Blgction

Mario Manuel
Medrano

CATIStINS:
Lichtenberger:

Vote Harvesting Mail: Ballot

Fraud/ Assistance Fraud 2008 Fitnary Election

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud

Andrea Campos

Duval/Live Oak Bierstedt

2008 Primary Election

Mote Harvesting / Mall Ballat
Fraud/ Assistance: Fraud

Ronald Marsh Tilegal Voting
ANA Maris Marsh Uiggel Mating

Uniawfully accepting a voter,
Bexar

unlawfully permitting the
deposit of a ballot, and illegal
Dallas)
Rockwall

Doveliive Oak) Alicia Pang Perez 2ORS Pritpanycblaction

2009 Municipal
Election - Local
Ontion
2009: Municipst
Election: + Local

Opti
Ester Sandoval

Martinez-Moreno 2010 Primary Election

Ulega| Mating = Vater

Delares:Memiiian: i
IMnperscrretion:

2O TO: Pritnary: Blaction

Duval/ Jim
Wells

Regino Cantu

Salinas Tlegal Voting - Felon

2008 Primary Election

fi tf Hage i i
Jack Carat Hegel Nating = Impersonation 2008 Praany ElacHen 1Dyseie
Crowder oF deceased voter é
oa 2007 Municipal and 2 counts illegal voting-(1)
Raul Reyna Tegal Voting - Felon School Election 09-04-09980 CR ineligible voter felon
Cyotiia Peng legal Mating = Felon 007 Muniapal and O04 -O08et CR é founts Hegel veto: (1)
School Faction insligible voter felon
Elizabeth Martinez Ilegal Voting - Felon 2007 Municipal 09-04-09982 CR t count illegal voting-(1)
Election ineligible voter felon
Official oppression, voting | 2006 Special Election 2007-C-0198 : ee ae

Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Resolved

PISA GON tO"! Count fraudulent use af identying
information, tvear deterred acdiumcation $206
fins

Pled guilty to illegal voting, 2 years TDCI, $500
fine

PIB GOlty toMlegal voting £0 years TOC
Suspended: 4 Years commindy: Supervision $506
fins

Pled guilty to 1 count of illegal voting, 5 years
TBC)

Dismiseed Indictinent: Detence mation for
collaters| estoppel granted:

t couneillegal wating (33
Woter impersonation at

Boling:bfa

£0/06/05

EC G4. 012

Ec 64.012

EC G4. 012

Ec 64.012
PEE 3 S05:

EC 84.0041

EC 84.0041

EC 86.006

2 11/05/09

2 LL/O5/05

1 11/05/09

2

01/28/10.

7 counts knowingly
provide false information
on an application for an

12 months pre-trial diversion, $60 supervision

08-11-00052 CRL fee, 80 hours of community service

04/15/10

ea ating balls

7 SOUnTS Kaawingly

provide felsecinfornnaton

GH ah application fer an
{i

O81 2000638: CRE Da775/ 1 Months pre-trial diversion, 460: supervision: fee

4 counts of method of
returned marked ballot
(less than 10)

Pled guilty to unlawful possession of ballot, 12
months probation, 180 days in jail (suspended),
$200 fine, 40 hours of community service

20068 06/24/10

a
Tllegal voting - felon, bribery, | 2008 School District 09-09-10117 CR L count illegal voting-(1) 1
and official misconduct Election ineligible voter felon

Scoulits ofinethod of
retuned: narkedt ballot
Class than: £0)

Pled guiltvete unlawful possession of ballot, 12
months probation; £60 days ingail (suspended);
$200: fine; AO hours ot community Service

G6, 24 EEO

20067:
20066

Pled guilty to unlawful possession of ballot, 12

EC 86/006:
months probation, 180 days in jail (suspended)

EC 86.006
$200 fine, 40 hours of community service.
Plead gudiy, Beare TCI Ip sushanded tors
EC Ga 012 : a :
Years COMPunity Supervision ASOD fine
EC 86.0051

BO ES 48
Ec 64.012 Pled guilty, 2 years TDCJ-ID

Plead guilty ta Possession: ote Ballotand: Uniawtal
Assistance cand racdived tyvear-deteritad
adjudication, atid paid a'$i000 fineand calirt

3 counts of method of
returned marked ballot
(less than 10)

06/24/10

DG/L7 ALD

1 count of carrier envelope
action by anather person
other than voter

Pled guilty, 6 months community supervision, 180

06/22/10 days in jail (suspended), $500 fine

CR-10-371
O72 0709768 CR

LCOUT EOE Uh aw Fat

HelVeRnGor acerificats Oetoe

Jury tral recuiting in hung jury, dismi'd

11/10/10

T COURT GE Unlawrut
assistance, 1 count Gf

method of returned Le) tay to

BC 64036) 86: 006:

20080) 20081
20082, 20083

20084) 20085; 20086,
20087) 20088; 20089,
20090) 20094

Pre-trial diversion 6 months, $3,500 donation to
the county

assistance, 1 count of

method of returned 12/14/10

EC 64.036, 86.006

Pledgudly th: 4 counts OF Possacsion of B Ballot
and: 4 counts OCUnlawiUtAscistance: and received
Toyear jell, probated far 4 2 nvonthe end paid
2000 Hie ard court costs

Pled guilty, received four years of deferred
adjudication, a $1,000 fine, and 100 hours of
community service hours

Plea berjein ih Q4C 1682-14 for guilty ples to
defd adj resglane in-dismigeal:

4 counts of inlawrut
assisterice, AUCOUntS GF
method of ratumed
tnarked ballot

1 count of Illegal Voting-
241-1682-11 (1) ineligible voter
SAL deetad L count of tllegal Voung-
CL) ineligible Voter

1 count of tampering of a
governmental record

LA tArD EC 64.036, 86.006

E.C, 64,012
EC 64 O12

P.C. 37.10

EC 64012

03/23/11

O3/23 001

Pled guilty to one count of misdemeanor

2010-W-0375 Tampering, 1 year probation

03/23/11
2 COUDKS OF altempted
illegal Voting} (3) voter

imibersonation at polling

Pled guiltvcts attenipted illedal voting for
linpersctiating avoter, 1 yaar probation, paiel
SORT COUTE Costs:

EEOS2OLTEC ES a GG/L6E EE:

Pled guilty for 2 years probation, 90 days in jail,
and a $2000 fine

place
1 count of illegal voting-
(1) ineligible voter felon E.c. 64.012

11-02-13251-CR 08/31/11

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STATE112179
Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 4 of 17

Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Resolved

Convicted by:aGury On Vi /16/ 1%) sentenced: to: 2
Hidalao/ : 2005 School District ee | i count of illegal veting- years TCD, suspended for 5 years on probation,
Broaks Revie Almaties Hegel vorne Election 1003 Osta CR (3) voter impersonation i ert BG BT Ole loo days in County Jail ae 6 Conditign oF probation,

Voter impersonation (voting for

20 years using the identity of a
deceased voter still on voter Statute of limitations tolled by filing of indictment
. rolls, while voting herself by . 2 counts of illegal voting - on 9/18/11. Defendant declared incompetent to
Bexar Mary Comparin mail ballot), benefits fraud 2008 General Election 2011-CR-7939 voter impersonation 2 E.C, 64.012 (a) 3 stand trial. Cause 2011-CR-7939 closed, case left

(receiving SS benefits for pending.
herself and a deceased
individual)

Pled guilly,: year deferred adjudication
Shank, Christine 1 coupe ot Unlawtul SOMmunity supervision, 20 hours Community
Brazos. i Unlawful: Tatlusncing Voter: | 201 0 General Plectian | oo 4 1 -OSSOb- CRM aCe 1 £ 02/06/12 EC 4036 Service £332 OD court caste, 5B O0 fine:
Thomas Assistance :
prohibited from ottering assistance in the election
Ocese Toa vars
Dallas/ Aggravated perjury in . . 4 counts of aggravated
Rockwall connection with Iiegal Voting 2010 Primary Election perjury O2/16/12 F.C, 64.012 Expunged
RBS uaN Name: Removed Tigeal: voting: ZO LO: Rrinnery lection: HEIAIBIS GARE O2FT ELE? Bo bag £D: expunged:
Rockwall Name Removed Tilegal Voting 2010 Primary Election ineligible voter 02/16/12 E.c. 64.012 Expunged
Roe wall Name Removed Tisael Wotng 20 LO: Primancblsction: inGlaible Veter 2/46/12 Es G44 2 ExXpunged

Elected Justice of the Peace convicted at bench
Dallas/ trial of illegal voting - ineligible voter, 5 years
Rockwall 2 02/27/12 E.c. 64.012 TDCI, probated for 5 years, 180 days in jail as a
condition of probation, $2500 fine, removed from

office
Dalles/ Robart: fdwarel legal Vetieg 3016 Becnary Election abe 3 counts of legal voting = aee oe bres Tn exchange for acknowledgement of offense ‘and
Rockwell Medrane iNBHGIDIE VotRE COOPETaENG tastingny: at trial charges disii'd

Pied guilty to two counts of aggravated perjury, 4
years TDC] probated for 4 years community
6 02/29/12 P.C. 37.03 supervision, $5,000 fine, $219 Court Coust., 45

2 counts of illegal voting -
ineligible voter

Carlos Medrano legal Voting 2010 Primary Election 2-11-418

Dallas/ Rolande Medrano THegal Voting, aggravated 2010 Primary Election 2-11-416 6 counts of aggravated
Rockwall perjury perjury

or da
: T count of (beat -vating =
Dale Raquel Medrang decal Vating, aguraveted 2OLO PritpenycBlaction Qt 108) 2k ada HNeHOIDIS Voter Sccounts oF De728/ 12 BG orale re He URN COnViChon oF dafendantin 2.04 408
Rockwall peu EO ae 37,03

BoCrAVGESC DSriut
4 counts of possession oF
an official ballot or carrier
envelope, 3 counts of
unlawful assistance E.C. 86.006,

Pled guilty to two counts of Unlawful Assistance,
two caunts of Possession of a Ballot, and twa
counts of Failure to Provide Identifying
Information While Assisting a Voter, and received
one year of deferred adjudication and a $250.

Dallas/ Vote Harvesting/Mail Ballot

Rockwail

Gilda Hernandez Fraud/Assistance Fraud - 2010 Primary Election 1L1082011CCL-B 9 04/05/12
Influencing Voter

{influencing voter), 2 64.036. 86.010
counts failure to provide
identifying info while

Hidalaoy Jose DeJesus: fa 2008 School-District lea. J count legs Voting? CL) Bled quailty, received TO years TDCI probated: tor
Hegel vorng | felan, bribery Py Oe Ot Ee ineligible Vater falan i Deby ie EE on Ole 10 years, $1 O00 fine, and 4319 court costs
Frank Ross legal Voting Election 241-1683-11 (1) ineligible voter 1 06/19/12 E.c. 64.012 Dism'd
2010: Munlepet and 2 counts illegal vouine by Pled: guilty to Wedel voting CL chy. sentenced: te: 3
Hidslgg® Angel Trae: Tisael Voting = Felon Schoge Dist igt CR TOLARL OSE ineligible woke 2 8/08/12 Es G44 2 years TDC) probated for community subenusion;
EIScton $750: Fine
. Uniawfully revealing Uniawfully Revealing
Hidalgo® Baudelia Zapata information before the pails 2008 Municipal 12-03529 Information before palls 12/27/12 E.C 61.007 No Bill
Rojas close Election close

Hidalgo* Salvador Vela Mail in ballot violation 2008 Municipal 12-03528 Method of returning 12/27/12 E.C 86.006 [No Bill
Election marked ballot

| couot oF Dlegal Vanna: Plead Guilty to (legal VOUNG, Sentenced ta 2 Years
Hidslgg® Feriha Cectils Tisael Voting = Felon 2010: Generalblection CR AGUS TOY ee OL/E7/13 Es G44 2 deferred with cainmunty supervisen and 6100
(1) ineligible voter felon ne

Pled no contest to Unlawfully Assisting Voter

(Class A Misdemeanor) 12 month county jail,

Assisting Voter probated for 12 month community service.
$250.00 fine

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud; 2010 Primary Election 2013-DCR-00484
Influencing Voter

Margarita Rangel
Ozuna

1 count Unlawfully

Cameron 1 05/30/13 E.c. 86.010

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CONFIDENTIAL STATE112180
Hidalao/
Brogks

Montgomery

Montgomery
Montgomery

Cameron’

Montgomery

Mantoomery

Cameron

Jim Wells

Cameron

Cameron

Mantoanmiery

Montgomery

Lorenzo Antonio
Almanzs:

James Alan
Jenkins

Peter Josealy
oe ager le

Adrian Heath

Sem Wells

Hidsigg

Cameron

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Tlegal Voting = Voter
Teapersonatiors

Tllegal Voting - Residency
Paige Statement on application:
Hedakvoting

False statement on application,
illegal voting

Sybilag Doyle

Roberta Margaret

Garza, israel

Name Removed

Malian Merit:
Berntsen:

Tomasa Chavez

Benito Aranda: Jr

Mark Homero
Almaraz

Jorge Lule
Martinez

Facunda Garcia

Pelee statementon application,
itegal voting

False statement on application,
illegal voting

Tigoal Voting = Felon

False statement on application,
illegal voting

False statement-on spalication,:
Higgalvoting

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud;
Influencing Voter

Tisgel Voting = Pelion

Tlegal Voting - Felon

Una WHY rBiacting vetars:
iHlegalvoting, andauctawhutly
accepting voters:

Vote Harvesting/Mail Ballot
Fraud/ Assistance Fraud;

Bernice Garcia

Rafael Angel
Elizondo

2008: Schaal District:
Flectiar:

2010 Special Election

20 LE Cpecial Election

2010 Special Election

Office of the Attorney General of Texas

12-03-025479-CR

L203 0258 T5CR:

12-03-025480-CR

Election Fraud Violations
Prosecutions Resolved

2 counts oF illegal: voting:
(3) voter impersotiation at
pollaig place

1 count of illegal voting -
ineligible voter

T count of egal wating’:

1 count of illegal voting -
ineligible voter

2010 Special Election

2010 Special Election

20 LOM URE Ga}
Election

2010 Special Election

SOLO Special Flaction:

2012 Primary Election
Runoff

202: PrInaNCElscton:

2012 Primary Election

2008: Municipat
Flectiar:

2012 Primary Election
Runoff

Influencing Voter

Mote Harvesting / Mall Ballat
Fraud) Assistance Fraud:
Taflusncing Veter

Vote Harvesting/Mail Ballot
Fraud - Method of Returning
Marked Ballot

T2+03-02584+CR

12-03-02585-CR

ZOE 3: DER OUGS 7

12-03-xxxxx-CR
LE O03 02586°CR:

14-CCR-02977-A/14-CCR-
02983-A/14-CCR-02984-
A/14-CCR-02985-A/14-
CCR-02987-A/14-CCR-
02989-A/14-CCR-02991-
A/14-CCR-02993-A/14-
CCR-02995-A/14-CCR-
02996-A/14-CCR-02997-
A/14-CCR-02999-A/14-
CCR-03003-A

PAHO FAT SOO CR

14-07-13903-CR

CREG6 23200268:

14-CCR-02980-A

Tt count ck ilegal voting’:
ineligible voter.

1 count of illegal voting -
ineligible voter

Tt count ck ilegal voting’:
ineligible voce (fetan)

1 count of illegal voting -
ineligible voter

ineligible: voter
3 counts - Carrier
Envelope Action: Person
Other than voter (Misd B),
3 caunts - Assisting Voter
Violation (Misd A}, 3
counts - Method of
Returning Marked Ballot
(Misd B), 4 count -
Unlawful Assistance to
Voter (Misd A)

Indlieted:t count-oF Hegel
Voting(L | Ineligible voter
eteits Bio

a DONS
Indicted 1 count of illegal
voting(1) ineligible voter

felon, 2nd Felon

TZ Counts OF Hagel voting

1 Count - Unlawful
Assistance to Voter (Misd.

2012 Primary Election
Runoff

2015-DCR-00269-D

ACKOn: BESGH Other tian
Voter (MISH By Count =
Method af Returning

CoUnES Cinlahal
Assistaricg tec Veter Misc

1 Count -Method of
Returing Marked Ballot
more than 10 but less than
20 offical ballots/carrier
envelopes. ( 3rd Degree
Felony)

Ob/ 24713

06/28/13

Q7/E 2/13

10/31/13

BC Gagr2

E.C 64.012

EC 64 O12

E.c. 64.012

nation:
Megat Voting = voting twice; santensed to:2 veers
PDE) GH bath counts) run doncourrentiy $313

Pise:guiltyto- Megat Voung: = VOtSr nips

voting (1) ineligible voter, 3 years TDCI, $10,000
fine and $364.00 in court costs
reversed/remanded by 14th COA, pending new
trial

t Veer Probation = PrestlaEDIVersigh Pragrany

Convicted during a jury trial, 1 count of illegal
vating (1) ineligible voter. Sentenced to 3 years

£ O4fOes ta EC oe DL

13

GA LOETS:

05/15/14

LOPZ SE EA:

01/22/15

02/48/15

02/18/15

O2I 25045

03/19/15

“es —

ES 6a Oe

E.C. 64.012

EC 64 O42:

E.C 86.0051 /E.C
86.010 / E.C
86.006 / E.C

64,036

EEC CA OLS

E.C 64.012

EC Ga O12:

E.C 64.036

O4fO8715

06/12/15

TDCI and $10,000 fine, $334.00 in court costs.

Convicted BEIURE tah 1 count-of leGel voung (15
iMeGIDIE YOURE Sentenced ty deterred
agieement: 2 years TOC prohatad for S:veare,
35,000 fine and 6350-00 in court caste:

Convicted at bench trial, 1 count of illegal voting
(1) ineligible voter. Sentenced by deferred
agreement, 3 years TDCJ, probated for 5 years,

$5000 fine.
Bled gGity (0 Medal voting attanipeed: Celan

Voter) Class Atmisdeainearior. Sentenced to/t0
months confinement, 2yesre prabatign, fine

1 year Deferred Prosecution Probation. Eligible
for expunction after serving 12 mos probation.

Teo Oetared Acucearon, go nou Ou Tne,
p54 00 in court cases

Pled guilty to unlawful assistance of voter, 6
month confinement, probated for 1 year of
community supervison, fine $250.

Bled Guilty 0o egal VOUnG CBIany Sentenced £6.
TO Vears COnfinmant ‘probated for lO years ot

COPE SUDEEWISIO
Pled guilty to illegal voting (felon) Sentenced to
10 years confinment, probated for 10 years of
community supervision,

Pled:guiiy ta: counts £36 forattempted Tegal
Mating (Glass A}: cThres: years community:
SUBSIVISION: COURTS: ZL 2c waere: dismissed

Pled guility to unlawful assistance of a voter.
Sentenced to 3 day confinement in county jail and

EC 66,0051 (EC
86, 00G:7 BC
64,036

E.C. 86.006

$250.00 fine,

dT year probation underdiversian: pragrarm
(Deferred Pros:) far-offense of unlawfully assisting
voter:

Pled no contest to Method of Returning Marked
Ballot =10<20, (Class A). Sentenced to three
days in county jail. and taken into custody.

CONFIDENTIAL

Information as of 7/15/2022

Page 5

STATE112181
Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 6 of 17

Office of the Attorney General of Texas
Election Fraud Violations
Pled GUityto Method of Returning Marked Ballot
Dba te Ee Beppe SUG Clase B)o Sentenced ts twa dave county jell:
Pled guilty to Carrier Envelope Action by Person
08/10/15 EC eee oe. EC Other than Voter. Sentenced to 15 days county
. jail and $250.00 fine/court cost.

Prosecutions Resolved
ROC BA 086) RAC Bled guitycto Class: A misdamags nar Unla wrt
oBsiaiis Sh OLG/S 2B Co) Aes istance ofa Veter 12 monthenf deferred
SG DOSE EC: tadiuditaton: $250 fine) and reframing trom
26 B06 Handling mallbalists and acisting voters:

i 8 jury trial and pled guilty ta one count of
3rd degree felony Forgery. Court convicted
10/06/15 P.C. 32.21 defendant and sentenced him to five (5) years
gulity B
Returning Balldt Coun sentenced her te one: year
‘OF Community supervision deferred adjudication,
boreeyte fie Be aoe plus a fine:of $150:and court:costs: Defendant

Mote Harvesting Mall Ballit DOLD Prmary Election Returing Marked Ballot
Cameron JORS Angel Garcia.) frauds Method at Returaing ZOTS: DCR OG2 70-5 fewer than: LO offical
Runt es
Marked Ballon ballots /carnerenvelopas:

SEN
14-CCR-02981-B/14-CCR- | envelope etion: Person
Vote Harvesting/Mail Ballot . . 02986-B/14-CCR-02988- a
2012 Pi Elect
Cameron Margarita Ozuna Fraud/Assistance Fraud; rimary mection B/14-CCR-02990-B/14- Other than voter (Misd B),
Runoff 3 counts - Method of

Influencing Voter CCR-02992-B/14-CCR- ,
02994-B Returning Marked Ballot

d
I
taccapaeve-ciacen | oe .
02898 CAA Cle o30n0: a ee aes
Note Harvesting/Mail Ballot : : SUNCCR D900) CHEM Woe Vielaton (Mied A) 4
: 2OL2 Pritary Election |: COR-O3002+C7 PACER}
Cameron Vicenta Vering Fraud/ Assistance Fraud: counts + Carrier Envelope
Runt: OS004- CAAA COR GO 30G5s: oe
infldencing Voter ACHONE Person Other than

EE COR ODN GEE voter (MISCO) 4 COunte s

ee cee Method of Returning
Marked Ballot: Misd:: 6):

Forgery/Tampering with 1 Count of Tampering w /
Harris® Avery Ayers peitition for candidacy - forged {2014 General Election 1476757 a Governmental Record
signatures (SIF)

TE Count = Carrier Envelope
Mote Harvesting Mall Ballit : 3 ACHONE Person Other than
: 2012 Primary Election TAR O82 C i
Cameron ‘Soran Perales: Fraud) Assistance Fraud: unser {4-COR HA00E 6 Volse (Misa Bat Count =

Influsncing: Voter: Method of Returning
Marked Ballot (Misd:: 6):

i Count tledal Vating
2013: Municipat CMncIpaly:
Edwerds Tamera Scotch Hegal voting (residency) ElSchOn 2014 ehiniary: 2 COUBKS OF Tamner wee
Election Gov't rect Count ot
TSGal Voting: (Prinnvany)

Co-defendant accepted criminal responsibility for
1 Count Carrier Envelope these offenses in plea resolving causes CR-15-
. «| Vote Harvesting/Mail Ballot aa Action: Person Other than 98767-E, CR-15-08768-E, CR-15-08769-E, CR-151
Hidalgo Guadalupe "Lupe Fraud/Assistance Fraud: 2013 Municipal CR-15-08765-B, Voter, 1 count Method of 07/11/16 .C, 86.0051  £.C.}08770-E, CR-15-08771-E, CR-15-08772-E, CR-151
Rivera, Jr. Influencing Voter ‘ Election CR-15-08766-B Returning Marked Ballot ‘ 86.006 08773-E, CR-15-08774-E, CR-15-08775-E, CR-15/
"210 08776-E, CR-15-08777-E, CR-15-08778-E, CR-
15-08779-E, CR-15-08780-E, CR-15-08781-E,
and CR-15-08782-E.

CRELS OB 767-8
CRELS AOS 765-5
CRELS AOS 7690-5
GR is GeU7c E t Count Uniaweel
CR TS 877456 Ae é
eR Le badge E Ssibtance to Vater,
: COUntS Carrlar Envelope Bled QUitycto Unlawful Assistance toca Voter, Clase
; Mote: Harvesting) Mall: Ballot: CRETS O87 73-5
: ‘Guadaltipe “Lupet : QOL Municipal Action) Parson Other than AcMmisdemeanat, Sentenced ta 365 davelin jail
Hidalgo Fraud/ Assistance traud: : CHES O87 74-5 O77 16 Ec 64035 ce
Rivera, St: Blection MOter ConGuALS Method of probated for-dne Veer at commundy Supervision
Taflusncing Veter CRELS OB 775-5 : 3 :
Returning Marked Balle wah a $506 fips:
Ch be Gere e RLOIS Counts Assistin
CRE CGE Mater Migiatian :
CR TS 08 778-6
CRELS OB 2 70.8
CRELS O08 760-8
CREES SOS ZEEE

Information as of 7/15/2022 Page 6

Pled Nowantest te Count Pokthe Indictinent =
Tegal Veting Giteligible voter nonresident ines
LQ 7/45 EC 64 GLe bisa Deal Barseriene, State ta dismiise counts
2, 2 RA: Sentenced to 2a montis of deferiad
adjudication community supervision, S500 fine:

1 Count Illegal Voting
2013 Municipal (Municipal) Tllegal voting (ineligible voter-non resident) in a
Edwards Michael Scotch Illegal voting (residency) Election 2014 Primary 2 Counts of Tamper w/ a 4 12/07/15 E.c 64.012 plea bargain agreement. State to dismiss counts
Election Gov't rec 1 Count of 2,3 &4. Sentenced to 24 months of deferred
Ilegal Voting (Primary) adjudication community supervision, $500 fine.

CONFIDENTIAL STATE112182
Hidalgo

Dallas Tarcant

Webb

Medina

Dailas

Graciela Sanchez

Rose: Maria: Ortega

Manuel Rodriguez
Ti

Rita Renee
Jobson

Angel Antonio De
Leon, Jr.

Aruce Garcia: Jr:

Patricia Barton

Aaron Torres

Shirley Brown

Kenedy

Chriselda so vers

Martin Olvera

Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23

Office of the Attorney General of Texas

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud;
Influencing Voter

Hegal Voting = Nan Ciigen

Tllegal Voting - voter
impersonation, Ilegal Voting -
ineligible voter (felon,
unregistered voter)

Tisaal Voting: insligible Voter
(poneresident)

Megal Voting- ineligible voter
(convicted felon, on paper)

Ulggel Mating: ineligible vater
ChOnVicted felon, on paper

Unlawfully Influencing Vater in
Palling Place; Electioneering

Unlawho lly: Revealing
Tvformation Before tecPous
Close
Unlawfully Accepting a Voter
not eligible to vate, by election
judge

Tlsgal Vong Blectin Freud:
False: Statement ah
Ragistration Application

Tllegal voting; Election Fraud;
False Statement on
Registration Application

2013 Municipal
Election

2012: General
Plaction; 2014:
Primary Run-OrF
Election

2014 General Election

Nove 20 T+ general
election: May 2015
RISO election, May
2OLS: Cty ot
Rocks prings elechon;
Marth 2076 primary
Slachion: May 2OtG
Cay GE Rocksprings
election; Nove: 2O18:
General election; and
May: 201 72City OF
Rocksoringe Biection
Special COL Dist. 2 -
2/13/2016; Special
COL Dist. 2 Runoff -
4/2/2016; Joint
Primary Runoff -
5/24/2016;
November 2016
Nov 014 ceneral
election: March: 2006.
Democratic HHmary;
May 2016 Democratic
Pict

Mar. 2018 Primary
Election

Z2OLS:- Primary -Runort

2016 General Election

1434155:
1730

EXPT TS09GAOS

CX8826260117

CX81 40580101

CX4240437617

CX 7954595500)

CX3852040670

Mar 20 B Primaey:
Election

Mar, 2018 Primary
Election

CXS39 203090473

CX8890196392

Election Fraud Violations
Prosecutions Resolved

2 counts Carrier Envelope

Action: Person Other than

Voter, 2 counts Methad of

Returning Marked Ballot
<10

22c00nts GFillegs | Veting ©
Wehaible VouRE Caan
Sezer)

2 counts of illegal voting,
ineligible voter (felon,
unregistered), voted as 99
yr-old grandfather

7 counte Sf lisgal veting =
(NSHGIBIB Voter Gis:
Fesidenty = endidegres
Felony

4 counts of illegal voting -
ineligible voter (felan) -
2nd degree Felony

3 counte Sf ilisgal veting =
ineligible voter: aton) *
2nd degras Felony

2 counts of unlawfully
influencing voter in polling
place; 1 count
electioneerina
Tt COunE Un A Wwhully
revealing INTSrmaton
before: the polls clase:

3 counts unlawfully
accepting a voter

Colint ES allegal:veting,
2nd Owaree Felony!
Count 2S elenhon fraud:
Cl Ay
Count So) falee statement
‘One registration
applications: Bi

Count 1 - illegal voting,
2nd Degree Felony;
Count 2 ~ election fraud,
ClA;

Count 3 - false statement
on @ registration
application, CIB

Page 7 of 17

Other than Voter, Class B misdemeanor. Pre-trial
diversion for a period of two years of community
supervision, pay court and probations fees,
complete 24 hours of community service. Other

4 07/11/16 E.c. 86.0051

4 01/29/18

OL/ 25/18

3 04/26/18

OS 730/18

3 05/31/18

a

LeseOsLy ECe6a0be

E.c. 64.012

EC oe DL

E.C. 61.008; E.c.
61.003

Eat 0O7

E.C. 63.012

7/02/18

3 06/27/18

charnes dismissed

Prosecution Diversion Pragram - stipulation of
guilt to 4 counts Ilegal Vating

Prosekation Diversion Program stiptilation of
GUHE TOS counts Tegal Vating

Prosecution Diversion Program - stipulation of
guilt to 2 counts unlawfully influencing voter; 1
count electioneering

BROSBCULISH DIVErSIn Prograln = StiBuIBtiGn of
Gud tot count Uniawrully revealing-nformetion
beforethe polls close:

Prosecution Diversion Program - stipulation of
guilt to 3 counts unlawfully accepting a voter

EC ooa OL 2

Convicted by IUry On bothcounte Gf Tegal Woring
Non citizer Jury:seritenced her to a'petiod of
eight (8) Vears inthe Texas Depatiment of
CHIOINGE JUBTICeMINGtIRUD Ona! DIVEIGN Greach
COUNT) Sentences'te run concurrently, $5/000/00
fibG ene: €925 003n court cages:

Convicted of illegal voting (2nd deg. felony).
Sentenced to two (2) years in the Texas
Department of Criminal Justice Institutional

Poobecution Diversion Program = stipulation of
UIE ta'2 COURTS Tledal: Voting

Rrosecution Diversion Program stipulation of
GONE TO count Hegel vedag, tcoune Blscucd

276. GUSTS GOT AR eud and t count false ctatement on

E.C. 64.012;
276.013; 13.007

FOGIStraHON BEBICAHOR

Prosecution Diversion Program - stipulation of
guilt to 1 count illegal voting, 1 count election
fraud, and 1 count false statement on a
registration application

CONFIDENTIAL

Information as of 7/15/2022

Page 7

STATE112183
Nueces/ San
Patricio

Frio

Starr

Starr

Starr

Starr

Starr

Starr

Starr

Heather Laurens
Miller

Rosita Torres
Flores

Cansuals
Barrientos Canty

Maria Delcarmen
Vela

Miouel Morena

Veronica Flores
Vega

Abigail Estrada

Dora Barrera

Nitzis Marbella:
Fishes

Eusebio Lopez

Adelipida Lopez

Alayssa Lopez

Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 8 of 17

legal: vating; Election fraud;
Falke: Statement on
Ragistration Application

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud/Ilegal
voting

Mote Harvesting / Mall Ballat
Fraud/ Assistance: Fraud

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud

Mote: Harvesting / Malt Ballot
Fraud Pre udulent: Use: of
Application fs Mat
Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail
Mote Harvesting / Mall Ballat
Fraud > PreaudulentUse ae
Application for Ballot by: Msit
Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail
Vote Harvesting Mall: Ballot:
Fraud Pre udulent: Use: of
ApDLCAtON for Ballst-by: Mall

Sash Votndg
Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;
egal Voting
Mote: farvectnar Mal Ballot
Fraud + Fraudulent Use of
AppleatiOn for Balle ByoM ails
eo oO ct
Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;

Leida:S:

Mealddrnada:

Jose Guadalupe
Garcia

‘Andrea Martinez

Rudaifo A. Trevino

Raul Lozang ar,

Deyla Maria
Garcia

Mar 20 B Primaey:
Elaction

Robstown 2016
General

2016: Primary Runt
Election

2016 Primary Runoff
Election

Mar OAS Prin aey:
Election

2016 Primary;
2016 Primary Runoff
Election
2016 Primary;

20 LE: Prinary RUnOre
Blection:

2016 Primary;
2016 Primary Runoff
Election

2005: Primary:
ZOLG: Pritehy: RUNGE
flection

2016 Primary;
2016 Primary Runoff
Election

2016 Primary:
2OLG: Primary RUNnGtE
Election

2016 Primary;
2016 Primary Runoff
Election

Ieaal Votina
Mote Harvesting Mail Ba lhot:
Frade = Pre uduleniUse ae
Application for Ballet by Mail;
TisosiVating:

Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Apolication for Ballot by Mail
Vote Harvesting / Mail: Ballot:

Fraud - Fraudulent Use of
Application for Ballot bv Mail
Vote Harvesting Mall Balint

Fraud > PreaudulentUse ae
Application for Ballet by Mail;

Sd eS
Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;

Larial Saenz

CONFIDENTIAL

S-18-3065-CR;
18-CR-83358

€X3772923814

CX2819749616

CX4783488382

CX6220705016

CX9033550035

ZO0LG: Primary:
2OLG Primary RUAGtE
Election

2016 Primary;
2016 Primary Runoff
Election
Z2OLG Brienary:
2OLG Primary RUAGtE
facta
2016 Pri mary;
2016 Primary Runoff
Election

ZO0LG: Primary:

2OLG Primary RUAGtE
Election

2016 Primary;
2016 Primary Runoff
Election

eqal Voting
Vote Harvesting Mail: Ballot
Fraud: Fraudulent: Use: of

CX0876257916

CX4183309968

CX2635106999

2018 March
Democratic: Primary:

nia a ance A
cuaerieoiese 2 Counts Uniawifut
Assistance
TCOune Fraudulent Use of
CXASS LES L207 Application fat: Ballot hy:
Weg
Mail
2 Count Preudulancuce:of
CKISESALI22S: ‘Application for Ballot by
Mail
1 Count Fraudulent: Use or
‘Application for Ballot by
GAOL eaQobae Malls 2 Counts tlegal
Toure prauquient Use or
Appiicatian-far Ballot by
PALeo Ts a7 808 Mailice Counts Tlsael
CNBOO 226046
Mail
tT Coant fraudulent: Use or
ENSSTS94S 505: Applicaton for Ballot by:
Mal
1 Count Fraudulent: Useor
ENGSE 127 RO9G Applicaton:tor Ballothy
Mails 1 Count Glegal Voting

Office of the Attorney General of Texas

Election Fraud Violations
Prosecutions Resolved

Colint ES allegal:veting,
2nd Degree Felony:

COuRE 2 scalection: Fraud:
cA
Count So) falee statement
one registration:
application, CEB
Count L - illegal voting,
2nd Degree Felony;
Count 2 - method of
returning marked ballot,
SIF
1 count misdemeanor

6 Counts Unlawful
Assistance

1 Count Fraudulent Use of
Application for Ballot by

1 Count Fraudulent Use of
Application for Ballot by
Mail

1 Count Fraudulent Use of
Application for Ballot by
Mail; 1 Count Ilegal Voting

Ore
1 Count Fraudulent Use of
Application for Ballot by

Appiicatian-far Ballot by
Mailic? Counts: Tisgel
Motinc
1 Count Fraudulent Use of

Application for Ballot by

1 Count Fraudulent Use of
Application for Ballot by
Mail

1 Count Fraudulent Use of
Application for Ballot by
Mail; 1 Count Hlegal Voting

OB/OR/1S.

6/12/2018

G/LS/ 2018

6/15/2018

G/2612018

6/25/2018

6/25/2018

6/25/2018

6/25/2018

6/26/2018

5/26/2018

6/26/2018

Etount alse Statement
‘On Applcatans Icount

Uiggel Mating

Information as of 7/15/2022

EC ooa OL 2
276.013) 13.007

E.c. 64.012;
86.006; 64.036

E.C.64,036

E.C. 64.036

Ee Ba 004s:

E.c, 84.0041

BAG) 84 004t:

E.C. 84.0041

EC 84 0041:
EAC Ga O42

E.c. 84.0041,
E.c. 64.012

EC a4 OOAT
EC oe DL

E.c. 84.0041;
E.c. 64.012

SP2R/ 2018

6/25/2018

BIZSI2OL8:

6/26/2018

S/2G/ 2018

6/26/2018

EC Bs DOaL:
BC Gagr2

E.c. 84.0041

EC Ba 0044:

E.c. 84.0041

EC Bs DOaL:
BC Gagr2

E.c. 84.0041;
E.C. 64.012

FATE 2O48

BC) 18007:
EC 64018

Prosekation Diversion Program stiptilation of
GONE TO count Hegel vedag, tcoune Blscucd
fraud) and: count false statement-ons
FOGIStraHON BEBICAHOR

Convicted of unlawfully assisting/influencing voter
with mail ballot (E.C. 64.036); 12 months jail,
probated for 18 months; $1000 fine; 10 days
confinement in county jail served day for day as
condition of probation

Prosecution: Diversion: Rrograin =stipulation of

Gut to! Counts unlawtulcassistance to voters:

WED Eb: a balla
Prosecution Diversion Program - stipulation of
guilt to 6 Counts unlawful assistance to voters
with their mail ballots

Prosecution GWersiot Prograny SO StiR UTS Hen OF
Guie COS Count Fra pdulent: use: oF: application: ‘Ror
ballot bycmat

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of applicatian for
ballot by mail

ProsBcutisn Diversion Prograrn =Stipulatian of
Qui tal Count fraudulentuse of application for
ballot: bycmnall

Prosecution Diversion Pragram - stipulation of
guilt to 1 Count fraudulent use of application for
ballot by mail

Prosecution: Diversion: Prodrath < stipulation Gt
Quilt tot Count fraudulertidse of application for
beliot by rail ance Counts Hegel: voting

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of applicatian for
ballot by mail and 1 Count Illegal Voting

Rrosecution Diversion Program stipulation of
GUUC TO Count Reudulent Ose OF apBlation: for
Ballse by mail'and 2 Counts Tipe Voting

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of application for
ballot by mail and 2 Counts Illegal Voting

Prosecution Diversion Program) = Stinulalion of
Gut tod Count fraudulent use-of application: For
ballot by imall ahd 2: Counts egal Veting

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of application for
ballot _by mail

Prosecution: DIVersion:- Brogrdam: = etipulabon ‘of
GORE TGS Caunt re udulant Use of Applicahon: for
Ballot ail

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of applicatian for
ballot _by mail

Prosecution Diversion Program) = Stinulalion of
Gut tod Count fraudulent use-of application: For
ballot bylmall andl icountiiedal Veting

Prosecution Diversion Program - stipulation of
guilt to 1 Count fraudulent use of application for
ballot by mail and 1 Count Illegal Voting

Prosecution Diversion Program = stiniiation of
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and: d Countdilegal Vating

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STATE112184
Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 9 of 17

Office of the Attorney General of Texas

Election Fraud Violations

Prosecutions Resolved

Juan Vela

Kenedy

Kenedy: Leticia: Munoz Vel

Starr Guadalupe Garza

Branden lee
Garza

Nueces/ San
Patricia

Cynthia Kay
Gonzales

Leura Janeth
Garza AKA Angie
Vadira Zarate

Harie/
Montgoraary

Starr Artemio Lopez

Tetrant Chatles Jackson

Polk William Williams

Bernice: Garza

Starr/Hidalgs

Harris John Alsup

Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;

Mieaal Votina
Vote Harvesting Mail: Ballot

Fraud: Fraudulent: Use: of

Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;
Ilegal Voting

Mote Harvesting Mall Ballit
Frauds Fraudulent Use of
Application for Ballet by Mail;
Tisgal WotnG

Vote Harvesting/Mail Ballot
Fraud/Assistance Fraud/ITllegal
voting

Medal Voting Choncctizen }:

impersonation ofa US Citizen

Vote Harvesting/Mail Ballot
Fraud - Fraudulent Use of
Application for Ballot by Mail;
Tegal Voting

False Statement ot App cation
Mail Ballot Fraud vote
Hemesting = Forged Voters

Tampering with a
Governmental Record; Illegal
Voting (voting ballot of
another); Election Fraud - Mail
Ballot

egal: Voting Mail:Batot Fraud
TMperSdratan ot deceased
Voter Mad ballot application

frags Mal ballot cast far voter

WG Was deachs Vaan.

False Statement on
Registration Application;
Tampering with Government
Record; Election Fraud - False
Registration Address

2018 March
Democratic Primary

2018 March
Democratic: Primary:

2016 March
Democratic Primary

ZOL6:March
Democratic: Primary

Robstown 2016
Primary Runoff

20L8 Generalblection

2016 March
Democratic Primary

BOLE Democratic
Primary blecton

2018 General Election

ZOLG: Democratic:
Brimery Plection

2018 General Election

€X2940077682

CXS 489204507

CX8930944834

EXG232993604

18-CR-83109;
18-CR-83110;
18-CR-83111

1805-06033;
18+05-06032

CX8019112853

TOGRALS

CX1976897707

CRAGELSALO«),

CX87944 22517

1 Count False Staternent
on Application; 3 Counts
Hlegal Voting

Etount alse Statement
on Applications S:Counts
Uiggel Mating

1 Count False statement
on application; 2 Counts
False information on
application for ballot by
mail; 2 Counts Tampering
with a governmental
record; 1 Count Illegal
Voting

(COONt False statement
On application; 2:Coune
False (nformation on
Spoltation (oe ballot by
mmallic? Counts Tampering
withca Gavernmnental
tecord) t Caunt Medal
Nota

Count 1 - carrier envelope
action, SIF;

Count 2 - method of
returning marked ballot,
SIF;

Count 3 - assisting voter,
SIF; and
Count 4 - illegal voting,
2nd Degree Felony

Cause to seal vetng =
voter Gnipersanation:
Cause: 2:5 Megal voting
CAon a Cizer):

1 Count False statement
on application; 2 Counts
False information on
application for ballot by
mail; 2 Counts Tampering
with a governmental
record; 3 Counts Illegal
Voting

False Statement ion Mail
Ballat Application

2 Counts - Tampering with
a Governmental Record; 2
Counts - Ilegal Voting
(voting mail ballot of
another); 2 Counts -
Election Fraud

COURTS TAOS Mlegal voting
COURT 3". Paice Statement
‘on Met Ballot Application

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Recard,

1 Count Election Fraud

7/17/2018

FATE 2O48

7/25/2018

7/28/2018

G/T 312018

9/17/2018

ABI 2019:

8/5/2019

L/24/2019

8/17/2020

E.c. 13.007;
E.C. 64.012

BC) 18007:
EC 64018

E.C. 13.007; E.C.
84.0041; P.C.
37.10;

E.C, 64.012

Eee tS OO 7 ECs
BA GOAT EPC,
37.40)

EC oe DL

E.C, 86.0051;
86.006; 64.036;
64.012

EAC Ga O42

E.C. 13.007;
E.C, 84.0041;
P.C, 37.10;
E.C, 64.012

EC 84 0044

P.C, 37.10;
E.C. 64,012;
E.C, 276.013

Ee Gad 2
Ee Ba 004s:

E.C. 13.007;
P.C. 37.10;
E.C. 276.013

Prosecution Diversion Program - stipulation of

guilt to 1 Count False Statement on Application
and 3 Counts Illegal Voting

Prosecution Diversion Program = stiniiation of
uit tod Codne Falsecstalermient on ApHication
and. Counts Tegal Vating

Prosecution Diversion Program - stipulation of
guilt to 1 Count False statement on application; 2
Counts False information on application for ballot
by mail; 2 Counts Tampering with a governmental
record; 1 Count Illegal Voting

Rrosecution Diversion Program stipulation of
GUHC TOS COUnL False stalsiment on ospplication:: 2
Counts Falke information on aplication far ballot
by pigiliog: Counts Tamiperiig with a goverimertal
record: Count Tegal Voting

Convicted of unlawful possession of a ballot
(86.006); carrier envelope action other than voter
(86.0051); and unlawfully assisting voter with a
mail ballot (86.010); sentenced to 180 days jail
probated for 540 days, 180 days probated for 540
days, and 365 days probated for 540 days and a
$500 fine, respectively. Sentenced to served 5
days county jail, day for day, as condition of
probation.

Convicted of Eweicounte Gf dlledal: Voting far
impersonating @ voter and voting when'ste was
HOUSIGIBIS ta Vote (nanotizen ) 0 years 7 DCI
probated for 10 Veere With TRO davelin jail ae
condition, $10/000 fine probated for 10 years:

Prosecution Diversion Program - stipulation of
guilt to 1 Count False statement on application; 2
Counts False information on application for ballot
by mail; 2 Counts Tampering with a governmental
record; 2 Counts Illegal Voting

Convicted Gt False Statement on Mall Ballot
Appleation: sentsnced:te 10 dave county jail:

Prosecution Diversion Program - stipulation of
guilt to 2 Counts Tampering with a Governmental
Record; 2 Caunts Illegal Voting (voting ballot of
another); 2 Counts Election Fraud

Disnid far lack of svidence andiin exchange tor
Delendant's cagperatcn with the State and a5
Ongoing: investigation: bythe Texas Rangers:

Prosecution Diversion Pragram - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with a
Government Record; 1 Count Election Fraud

CONFIDENTIAL

Information as of 7/15/2022

Page 9

STATE112185
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Hers
Harris Brian: Hottie

Michael Gebells

Micaela Ladet
(2
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Haris. Name: Remaved

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CONFIDENTIAL

Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23

False: Statement oF

Registration Application) Megal

VOtnG | Tempering with

Government: Record: blechion.

Fraud = Fales Registration
Address

False Statement on
Registration Application;
Tampering with Government

Record; Election Fraud - False

Registration Address

False: Statement ah

Registration Apnhcadan) Mega}

Voting: Tanering: with

Government Record Fisction:

Fraud! False Registration
‘Address

False Statement on

Registration Application; Illegal

Voting; Tampering with

Government Record; Election

Fraud - False Registration
Address

False: Statement oF

Registration Application; Megat

VOtnG | Tempering with

Goverhinent Records Rlaction:

Fraud 'Fatse Repistra tion:
Address

False Statement on
Registration Application;
Tampering with Government

Record; Election Fraud - False

Registration Address

False: Statement oF
Registration Application;
Tampenna with Government

Record blsttion Fraud > False

Registration Addracs

False Statement on
Registration Application;
Tampering with Government

Record; Election Fraud - False

Registration Address

False: Statementon

Registration Application) Megal

VOtng: Tamasring: with

Government: Record: blechion.

Fraud 'Fatse Repistra tion:
Address

False Statement on

Registration Application; Illegal

Voting; Tampering with

Government Record; Election

Fraud - False Registration
Address

Falke: Statement on
Registration Application;
‘Tampering with Government

Record blection Fraud + False

Repistratian Address

2018: General

Bisction:: 2019:
Special Hectian:

2020 Primary:

Voter Registration

ZOLS General blaction

2018 General Election

2018: General
Elections: 2018.
Pomary Runott

Voter Registration

Voter Registration:

Voter Registration

20Lo Cpecial Election

2018 General Election

Moter: Registration:

Office of the Attorney General of Texas

CXS OFA 2 ASL 7
CX8794422517

CXB7O4A RSL?

CX8794422517
XB F9AS 2251.7.

Election Fraud Violations
Prosecutions Resolved

1 Count: Palss Staterment
‘on Application; S:Counts
Tees Voting) ESURE

STRPADS FING: With a
Gaver ntnent: Record:
Tounthlection Fraud

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 COUALS Palee Statement
on Application: d Count
iiegal Vatinge 3k Count

Taripering with
Government Record:
1 Count election Fraud

1 Count - False Statement
on Application, 1 Count
Mlegal Voting; 1 Count

Tampering with a
Government Record,
1 Count Election Fraud

1 Count: Palss Staterment
‘on Application; 2:Counts
Segal Voting; 1 Count

Tampering with a
Government: Renard:
Tounthlection Fraud

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 Count: Palss Staterment
en Application, AaCount
STRPADS FING: With a
Government: Renard:
Tounthlection Fraud

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 COUnES Palee Staterent
On Application, 2: Counts
Tisgel Motng, LCount
STRPADS FING: With a
Government: Renard:

2 Counts Biection Fraud

1 Count - False Statement
on Application, 1 Count
Ilegal Voting, 1 Count

Tampering with a
Government Record,
1 Count Election Fraud

t Counts Palee Statement
on Application ASCouAt
Taripering with
Government: Record:

1 Count election Fraud

Information as of 7/15/2022

S/LL/2020

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Be 1s 007
BG 6401s:
PC avo:
Be 276013

E.C. 13.007;
P.C. 37.10;
E.C, 276.013

Ec. 13 007:
Bx Gat:
Pe BFo!
fC 276.018

E.C. 13.007;
E.C. 64,012;
P.C, 37.10;
E.C, 276.013

Beets OO2:
BG 64018:
Pe 874)
EC 276.018

E.C. 13.007;
P.C. 37.10;
E.C, 276.013

EGS O07:
PoC S210):
Ee 276.013.

E.C. 13.007;
P.C, 37.10;
E.C, 276.013

EGS O07:
Ee Gad 2
PoC S210):
Ee 276.013.

E.C. 13.007;
E.C. 64.012;
P.C. 37.10;
E.C, 276.013

BC) 18007:
PO B40)
EC 276.013

Rrosecution Diversion Program + stipulation taithe
cormmission of EsCounthalse Statement on
PADBHEANON) SUCOUATS Tlegal Voting: sl Count
Tampering witha Gaverhinent Recdrdio! Gaunt
Plection Fraud

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with a
Government Record; 1 Count Election Fraud

Prosecution: Diversion Progra stipulation tothe
CGMIHIRSIOn OF T Count False Statement on
Application: ASCount Megat Votng: AoCount

ain pering: with eGovernment: Records's Count
Election Fraud

Prosecution Diversion Pragram - stipulation to the
commission of 1 Count False Statement on
Application; 1 Countt Illegal Voting; 1 Count
Tampering with a Government Record; 1 Count
Election Fraud

Rrosecution Diversion Program + stipulation taithe
cormmission of EsCounthalse Statement on
PADBHEANON) SUCOUNTE Tlegal Voting: a Count
Tampering witha Gaverhinent Recdrdio! Gaunt
Election: Fraud

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with a
Government Record; 1 Count Election Fraud

Prosecution Diversion Program: ““etisulation tothe
COMMISSION SF ECOURt Pelee Statement on
PADBHEALION: TSCOUAE Tampering With Ss
Gavernment Record: tCaunt: blection:Frand

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with a
Government Record; 1 Count Election Fraud

Rrosecution Diversion Program + stipulation taithe
cormmission of EsCounthalse Statement on
PADBHEANON) SUCOUNTE Tlegal Voting: a Count
Tampering: with a Government Record: 2:Counts
Plection Fraud

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Illegal Voting; 1 Count
Tampering with a Government Record; 1 Count
Election Fraud

Prosecution Diversion Program + stipulation to the
COMINISSION Of E Count False Statement an
Applicaton: 1 Count Taniperina with 4
Government Recarded Count Rection Fraud

Page 10

STATE112186
Aaron Sprecher
JOREA THO Mas
Name Removed
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Hares
ZivAmner rao

Harris Antonia
McClammy

Hares Luis cree:

Medina A. Hitzfelder Untawfully Assisting Voters with} 2020 Presidential X8093477769 10 Counts Untawfulty
Mail Ballot Applications Election Assisting Applicant

Lubbeck Christopher
Donayre

Guadalupe | Gregory Gilcrease

Shannas Everette [Organized Election Fragd: | Vets

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Office of the Attorney General of Texas

False Statement on
Registration Application;
Tampering with Government
Record; Election Fraud - False
Registration Address

False: Statement ah
Registration Application;
Tern peting With Government
RecordicPlection Fraud > Palas:
Rébistration Address

False Statement on
Registration Application;
Tampering with Government
Record; Election Fraud - False
Registration Address

False Statement on
Registration Application;
Tampenna with Government
Record blsttion Fraud > False
Registration Addracs

False Statement on
Registration Application; Illegal
Voting; Tampering with
Government Record; Election
Fraud - False Registration
Address

False Statement oa
Registration Apalication | legal
Vetinig) Tampering witty
Government Recard Election
Fraud = False Registration
‘Address

False Statement on
Registration Apnhcadan) Mega}
VOtng: Tamasring: with
Government Record  lachion
Fraud

Illegal Voting; Election Fraud;
False Statement on
Registration Application;
Tampering with a Government
Record

Harvesting

Voter Registration

Moter Registration

Voter Registration

Voter Registration:

2018 General
Election; 2019
Special Election

2018 Generalblection

2018 Generalblection

2018 General
Election; 2020
General Election

2018: Democratic:
Primary:

XB 79442254 7

CX8794422517
COXG E44 22ST.

COX A643 SBB48.
CX3419210173

SOS 3B:

Election Fraud Violations
Prosecutions Resolved

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 COUALS Palee Statement
on Application: d Count
TaARIDSring with a
Gaver ntnent: Record:
{COuAt Blection Fraud

1 Count - False Statement
on Application, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 COUnES Palee Staterent
en Application, AaCount
STRPADS FING: With a
Government: Renard:
Tounthlection Fraud

1 Count - False Statement
on Application, 2 Counts
Ilegal Voting, 1 Count
Tampering with a
Government Record,

1 Count Election Fraud

1 COURES Falee Statement
on Application ASCouAt
Uiege| Mating, TGBURE

Tampering with: 6
Government: Record:
1 Count Blaction Fraud

LCount:- False Statement
en Applications t Count
Tegal Voting: CGURE

Tampering with: 6
Government: Record:
Count lection Fraud

2 Counts - Illegal Voting, 1

Count - Election Fraud, 1
Count - False Statement

on Registration
Application, 1 Count
Tampering with a

TL opuAt GE Engaane in
Olgenized Blection Fraud
CR QI oF COLNE OF
RreuciahtUise of an
‘Application for Ballot by
MBE CRS) 2 counts of
TAlaWhll POsSBeSion OF
Balotr/Palotbrveloge
(SAF), Bceounts GEElecHOR
Fraud (SIF), and § counts
Of Tarineting witha
Governmental Record
(SIFY

Information as of 7/15/2022

O12120 20
8/20/2020

05/19/21 E.C. 84.003

09/02/21

T/20/2022

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E.C. 13.007;
P.C. 37.10;
E.C, 276.013

EES Oz)
PC 3710)
EC 276.013

E.C. 13.007;
P.C, 37.10;
E.C, 276.013

EGS O07:
PoC S210):
Ee 276.013.

E.C. 13.007;
E.C. 64.012;
P.C, 37.10;
E.C, 276.013

BC) 18007:
EC 64 012:
BC BF io
EC 276.013

BC) 18007:
BC 6a 01D:
BC BF Ao
EC 276.013

E.C. 13.007;
E.C. 64.012;
P.C, 37.10;
E.C, 276.013

EC 276. Obi
84.004 be 86 O06:
276.015) PC 22.40

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with 3
Government Record; 1 Count Election Fraud

Proseciition Diversion “Mogan ctinulabion ta:the
CGMIHIRSIOn OF T Count False Statement on
ABBICELION T-Caunksl amperiig with a
Government Regard: | Count Plaction Fraud

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 1 Count Tampering with a
Government Record; 1 Count Election Fraud

Rrosecution Diversion Program + stipulation taithe
Commission Gi iccountfalse Statement on
ABBICELION T-Caunksl amperiig with a
Goversinent Record: Count Flection Fraud

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 2 Counts Ilegal Voting; 1 Count
Tampering with a Government Record; 1 Count

Prosecution Diversin Program “stindlation ta:the
COMMission OF E-Count Palée Statement 6h
Applicaton: I Coune tlegal Vanna Tceunt
SRermipering. With: a Government Record: Count

Prosecution Diversion Program - stipulation to the
commission of 10 Counts Unlawfully Assisting

Prosecution Diversion Program + stipulation to the
COMINISSION Of E Count False Statement an
Applicaton: I Coune tlegal Vanna Tceunt
Sempenng: with eGovernment Record: tx ount

Prosecution Diversion Program - stipulation to the
commission of 1 Count False Statement on
Application; 2 Counts Illegal Voting; 1 Count
Tampering with a Government Record; 1 Count

COnVICtRH GEE CUO 7G O18 Election Fraud: aad
Sentenced tod yecounty jad, probated tor bye.
and $2,000 fine. Public anology renuced 3s:
condition of nlee:deal:

Page iL

STATE112187
Case 5:21-cv-00844-XR Document 747-8 Filed 09/01/23 Page 12 of 17

Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Resolved

1 count of Engaging in
Organized Election Fraud
(F1), 1 count of Illegal
Voting (F2), 31 counts of
Fraudulent Use of an
Application for Ballot by E.C. 276.011; Convicted of E.C. 276.013 Election Fraud, and

Marlena Roseanne |Organized Election Fraud - Vote} 2018 Democratic 50949-B Mail (F3), 7 counts of 64.012; 84.0041; [sentenced to 1 yr county jail, probated for 1 yr.
Jackson Harvesting Primary Unlawful Possession of 86.006; 276.013; fand $2,000 fine. Public apolagy required as
Ballot/Ballot Envelope PC 37.10 condition of plea deal.
(SIF), 31 counts of
Election Fraud (SIF), and
26 counts of Tampering
with a Governmental

Gregg® 97 1/20/2022

Record (SIF)
eR OE ER a TRS TEE

Organized Blectign Fraud:
CPSJEk CUAL GE Fraudulent
CISe oF arApaleadion: fir
Ballot by Mall (SiP), 5
Groanized:Election Fraud =Wotel | 2078) Demadcratic COUHES GRUn Law hut

EC 276.081: COBMICtEC OF EIC 86 C06: UinlaWwhil Poss eesiar: OF
LIZ PI 2022: Sa O04 ts 86 DOG): Ballot with: Intent to-Oetraud: Sentenced tos ve
27G OI SPOOF EO eountiy jell probated tore ye

Chania Burns, or devon Ban soesl 8 Rees

Balot/Balotenvelone
{SIFY aed t Saunt
FaMnipar trig: With &
Goverment! Record

1 count Engaging in
Organized Election Fraud
(F1}, 1 count of Unlawful

Possession of Ballot or
Organized Election Fraud - Vote] 2018 Democratic 50947-B Carrier Envelope without
Harvesting Primary the Consent of the Vater

(F2), and 4 counts
Unlawful Possession of
Ballot/Ballot Envelope

(SIF)

Canvicted of E.C. 86.006 Unlawful Possession of
Ballot with Intent to Defraud. Sentenced to 1 yr
county jail, probated for 1 yr.

E.c. 276.011;

<
Gregg DeWayne Ward 86.006

6 1/31/2022

OzUki Trevine tleeal Voting ee cR 21 oononay L count legal Voting (F2) 5/8/2002 EC 6401906) coe Diversion Froatery | 1 caus lege!

T count of Aggravated
Perjury, 1 count of
Tampering w/Government

Tampering with Government 2017 City of Cibolo Pled Guilty to 1 count Aggravated Perjury (F3)

Stan “Stosh" Record - Application for Election; 19-2108-CR-C, . P.C, 37.03; and 1 count Tampering with a Government Record
Guadalupe Boyle Candidacy - Felony 2019 City of Cibolo CCL-19-0809 Record with Intent to 3 4/12/2022 P.C. 37.10 [with Intent to Defraud (SIF). Placed on 4-year
ue a Defraud, 1 count of soa :
Conviction/Ineligible for Office Election . deferred adjudication probation.
Tampering with a
Total Counts/ Offenses
691
Prosecuted
Mail Ballot Fraud 444 64% Note: significant overlap in fraud activity involving (two or more of}
Number of offenses related Assistance Fraud 169 24% mail ballot fraud, assistance fraud, and illegal voting in the same case
to cases involving: Tilegal Voting 189 27% may result in totals > 100%.
2015-present 429

° County offense occurred/County offense prosecuted. | ° For complete information on disposition, see judgment and sentence. Prosecution Diversion Program includes an acknowledgment of the commission of offense/s.

° Prosecuted by or with assistance of local district/county attorney. | 4 Cause number, where available; otherwise, OAG investigation or prosecution case number.

This doc tis neta y of all election violations in this state. This document does not record or report offenses handied exclusively by local law enforcement, district or county attorneys, or federal authorities. This document
only reflects cases investigated and/or prosecuted by the OAG.

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Office of the Attorney General of Texas
Election Fraud Violations

Prosecutions Pending

Jefferson/
Chambers

Hidalgo

Hidalgo

Tarrant

Ray Elliott Beck

Marcela Gutierrez

Sylvia Arjona

Leticia Sanchez Tepichin

Bribery; unlawfully accepting a cash
contribution

Unlawfully-assisting/influencing
voters: iNegal voting

Unlawfully assisting/influencing
voters

Fiat) ort
False Statement on Mail Ballot

Application: Vote Harvesting/Mail
Ballot Fraud

False Statement-on: Mail Ballot

2016 General Election

2016 City of Hidalgo
Runoff Election

2016 City of Hidalgo
Runoff Election

2016 Democratic Primary.
Election

2016 Democratic Primary

I8DCROIS3

CR LG-USZ90eG;
CR-18-08299-G;
CR-18-08300-G;
CR-18-08301-G;
CR-18-08302-G;
CR-18-08303-G;
CR-18-08304-G;
CR-18-08305-G;
CR-18-08306-G;

CR-18-08167-H;

CR-18-08168-H:
CR-18-08169-H;
CR-18-08295-H

1565415

Count to- unlawfully accepting a
cash contribution;
Count 2 - failure to return a

Misdemeanor cases 1-10 -
Unlawfully Assisting/influencing
Voters:

Felony count 1 = Megal Voting

Counts: 1-4 -cunlawfully
assisting/influencing voters

€aunts 1-9 --False Staternent on
Mail Ballot Application

Counts 1 = False Statement on Mail

i

4/26/2018

6/1/2018

5/31/2018

10/10/2018

EC. 253,033;
254.034

E.C. 64,036; 64.012

E.C. 64.036

E.C. 84.0041

Tarrant Laura Parra Application; Vote Harvesting/Mail : 1565155 Soe 4 10/10/2018 EC. 84.0044
Ballot Eraud Election Ballot Application
Information as of 7/15/2022 Page 1
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Harris’

Hidalgo®

Hidalgo”

Hidalgo”

Hidalgo®

Anthony Rodriguez

Dalia Molina

Aracell Gutierrez

Belinda Rodriguez

Crystal Lee Ponce

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Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Pending

Election Fraud - False Statement to
Election Official

Organized Election fraud - legal
Voting

Organized Election Fraud - [legal
Voting

illegal Vating

Hlegat Voting

2018 General Election

2017 City of Edinburg
Election

2017 City of Edinburg
Election

2047 Gity of Edinburg
Election

2017 City of Edinburg
Election

1629438

CR-2057-19-A

CR-3349-19-A

CR-3343-19-A

CR-3341-19-A

Counts:1-2:- Election Fraud

Count 1 --Engaging in Organized
Election Fraud
Counts 2-3 - Hlegal Voting

Coaunt-4 --Engaging in Organized
Election Fraud
Caunt 2 - Tegal Voting

Illegal Voting

itegal Voting

Information as of 7/15/2022

4/26/2019

6/6/2019

8/22/2019

8/22/2019

8/22/2019

EC. 276.043

EC. 276.0115
E.C. 64.012

EC. 276.011;
E.C. 64.012

E.C. 64.012

EC. 64.012

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Hidalgo:
Hidalgo®
Hidalga’

Hidalgo:
Hidalgo®
Hidalga’

Limestone”

Daniel Castillo

Francisco: Famez, Jr:

Jose Martinez

Ludivina Leal

Rosendo Rodriguez

Veronica Vela Saenz

Kelly Reagan Brunner

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Office of the Attorney General of Texas

legal: Voting

Hlegal: Voting

Tlegal Voting

Tllegat Voting

Hlegal: Voting

illegal Vating

Voter Registration: Fraud = Vote
Harvesting

Election Fraud Violations

Prosecutions Pending

2017 City of Edinburg
Election

2017: City of Edinburg
Election

2017 City of Edinburg
Election

2017 City of Edinburg
Election

2017: City of Edinburg
Election

2017 City of Edinburg
Election

2020 Presidential Election

CR-3494-19-A

15126-A

Illegal Voting

Page 15 of 17

Counts 1-2°:- Hlegal Voting

Tegal Voting

itegal Voting

Hlegat Voting

Illegal Voting

67 counts Purpartedly Acting as
Agent (F3), 67 counts Election 134

Fraud-(SJF)

8/29/2019

10/21/2020

E.C. 64.012

E.C. 13.006; 276.013

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Election Fraud Violations
Prosecutions Pending

9

Election Fraud (F1); 2 counts

Hlegal Voting (FZ); & counts of EC 27601 EC

< S Unlawfab Possession of oe eae

Meaney Leonor Rivas Garza Diganized Election Fraud - Vote 2018 Republican Pimary CR21-019 Ballot/Ballot Envelope Enhanced 2/9/2021 6d Ole, EC. 86.006,

Bandera Harvesting : : E.C 276.013; E.C.
(SJF): 2 counts Election Fraud 84 D044

Enhanced (SIF): 5 counts :

Fraudulent Use of Mail Ballot

Ann

count Engaging in Organized
Election Fraud {F1): 17 counts
. Unlawful Possession of
Med - i. : PEC.
© ney Tomas Ramirez Organized Election Fraud - Vote 2018 Republican Pamary CR21-021 Ballot/Ballot Envelope Enhanced 2/9/2021 EG 276 G11, E.G
Bandera Harvesting 86.006; E.C. 86.010
(SIP) O47 counts Unlawfully
Assisting Vater Voting Ballot by

Unlawful Possession of Ballot w/ EC. 64.012:
8231: intent to defraud, victim aver 65 3/2001 EC. 86.006;

Kendall® Rodriguez Illegal Voting, Election Fraud 21-078-CR €SJF): 4 count Unlawful Assistance E.C. 64.036:
CCEA) 1. count-Election Fraud {Cl EB. 276.043

Bexar/ Rachel “Raquel Vote Harvesting, Assistance Fraud, 9020 Presidential Election

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Office of the Attorney General of Texas
Election Fraud Violations
Prosecutions Pending

Hlegal Voting = Impersonation of a
Hartis/ , (Ignacio Gonzalez Beltran U.S. Citizen, Document Fraud; ref'd Multiple Elections 21-06-08808 4 counts INegal Voting (F2) 6/24/2021 EC 64.012
Montgomery by Diplomatic Security Services: -

U.S. State Dept.

Hildago Iflegal Voting eo” CR-1890-22-H 4 count Illegal Voting (F2) 4/28/2022 EC. 64.012

Hildage Anabel Rios Illegal Voting “eine pleco - CR-1889-22-H 1 count Illegal Voting (F2) i 4/28/2022 EC 64.012
Total Counts/ Offenses Pending
: 413
Prosecution
Number of offenses Mail Ballot Fraud 287 69%
related to cases Assistance Fraud 18 4%
involving: Illegal Voting 70 17%

® County offense occurred/County offense prosecuted. | ° Investigated by local law enforcement and referred to OAG for prosecution | ° Prosecuted by or with assistance of local district/county attorney.

This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, and federal
authorities. This document only reflects cases investigated and/or prosecuted by the OAG.

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